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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                     :
  BALANCED BRIDGE FUNDING, LLC,                      :
                                                     :
                  Petitioner,                        :          CIVIL ACTION
                                                     :
                  v.                                 :          NO. 21-4073
                                                     :
  MITNICK LAW OFFICE, LLC,                           :
                                                     :
                 Respondent.



                                                     :
  MITNICK LAW OFFICE, LLC,                           :
                                                     :
                  Petitioner,                        :          MISCELLANEOUS CASE
                                                     :
                  v.                                 :          NO. 21-MC-75
                                                     :
  BALANCED BRIDGE FUNDING, LLC,                      :
                                                     :
                 Respondent.
                                              ORDER

       AND NOW, this 22nd day of June 2022, IT IS HEREBY ORDERED AND DECREED

that a Conference regarding the outstanding Petitions in this matter shall take place on

Wednesday, June 29th at 11:00 AM. The Conference will be virtual and on the record.

Instructions to log into the virtual conference will be sent to the Parties via email. The Parties

shall be prepared to address all arguments raised in their respective Petitions.




                                                                BY THE COURT:

                                                                /s/ Petrese B. Tucker

                                                                Hon. Petrese B. Tucker, U.S.D.J.
